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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          EDCV 20-1748-PA(SHKx)                                          Date       October 30, 2020
 Title             James Rutherford v. Pacific Oil Company LLC et al



 Present: The                     PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
 Honorable
                Gabriela Garcia                                None                                  N/A
                 Deputy Clerk                             Court Reporter                           Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                     None
 Proceedings:                 IN CHAMBERS - ORDER

        The Court has been advised by counsel that this matter has settled. The parties
have ten (10) days from the date of this order or until the next scheduled court
appearance, whichever is shorter, to file with the court a dismissal of the action or to
appear, in-person or telephonically with their clients, to place the settlement on the
record. The parties may contact the deputy clerk of the court to calendar the appearance.
If the parties do not dismiss the action or do not place the settlement on the record, the
matter will remain on the Court’s active trial calendar with all pretrial and trial dates in
effect.

         IT IS SO ORDERED.




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                                                               Initials of Preparer                gga




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